 Case 1:20-cv-00522-RJJ-RSK ECF No. 44 filed 10/28/20 PageID.358 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



ANTHONY DAUNT,

                 Plaintiff,
                                                              CASE NO. 1:20-CV-522
v.
                                                              HON. ROBERT J. JONKER
JOCELYN BENSON, in her official
capacity as Michigan Secretary of State,
et al.,

            Defendants.
__________________________________/

                                             ORDER

         This matter came up for a Rule 16 scheduling conference on October 27, 2020. During the

proceeding, the Court heard oral argument on the Motions to Dismiss filed by Defendants Benson

and Brater (ECF No. 37) and by Intervenor-Defendants A. Philip Randolph Institute –

Detroit/Downriver and Rise, Inc. (ECF No. 34). Based on all matters of record, and for the reasons

stated in detail on the record in open court during the proceeding, the Court finds that dismissal is

not warranted at this stage of the case.

         ACCORDINGLY, IT IS ORDERED:

         1.      Defendants Benson and Brater’s Motion to Dismiss (ECF No. 37) is DENIED.

         2.      Intervenor-Defendants A. Philip Randolph Institute – Detroit/Downriver and Rise,

                 Inc.’s Motion to Dismiss (ECF No. 34) is DENIED.



Dated:        October 28, 2020                /s/ Robert J. Jonker
                                              ROBERT J. JONKER
                                              CHIEF UNITED STATES DISTRICT JUDGE
